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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                              Case No. 20-24959-CIV-ALTONAGA/Torres

  AISHIA PETERSEN,

       Plaintiff,

  v.

  ZUMIEZ INC.,

            Defendant.
                                                         /

            PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


            Plaintiff, AISHIA PETERSEN, by and through the undersigned attorney, file this Notice

  of Voluntary Dismissal with Prejudice and states that the Petition for Permanent Injunctive Relief

  and all allegations therein are withdrawn and the Plaintiff requests a dismissal of the Petition with

  prejudice.

                                         CERTIFICATE OF SERVICE

            I hereby certify that on this 1st day of February the foregoing document has been filed using

  CM/ECF system and will be served on           Defendant’s     counsel     David    Perez,    Esq.    at

  dperez@perkinscoie.com


                                                   s/Acacia Barros
                                                   Attorney for Plaintiff
                                                   ACACIA BARROS, P.A.
                                                   Acacia Barros, Esq.
                                                   FBN: 106277
                                                   11120 N. Kendall Dr., Suite 201
                                                   Miami, Florida 33176
                                                   Tel: 305-639-8381
                                                   ab@barroslawfirm.com



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